Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 1 of 11 PageID #: 1593
Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 2 of 11 PageID #: 1594




  motion to stay is DENIED without prejudice. 2

  II.    BACKGROUND

         LG Chem filed a trade secret misappropriation complaint against plaintiff SK Innovation

  Co., Ltd. (“SKI”) with the International Trade Commission (“ITC”) on April 29, 2019. (D.I. 49,

  Ex. A at 3) On September 3, 2019, SKI filed a complaint in this case against Defendants

  asserting infringement of United States Patent Number 9,698,398 (“the ’398 patent”). (D.I. 1)

  At the same time, SKI filed an ITC complaint asserting a different patent and commenced

  corresponding Civil Action No. 19-1638-CFC against LG Chem regarding the alleged

  infringement of that patent. (C.A. No. 19-1638-CFC, D.I. 1) On September 26, 2019, LG Chem

  filed ITC complaints against SKI regarding five patents and filed corresponding Civil Action No.

  19-1805-CFC in this court. (C.A. No. 19-1805-CFC, D.I. 1) Litigation in both Civil Action

  Nos. 19-1638-CFC and 19-1805-CFC is stayed pending resolution of the related ITC

  investigations pursuant to 28 U.S.C. § 1659(a). (C.A. No. 19-1638-CFC, D.I. 11; C.A. No. 19-

  1805-CFC, D.I. 10)

         On November 25, 2019, LG Chem filed its answer, affirmative defenses, and

  counterclaims in this action. (D.I. 9) SKI answered the counterclaims and filed its motion to

  strike the affirmative defense of unclean hands on December 23, 2019. (D.I. 17, D.I. 19) A

  scheduling order was entered on January 13, 2020, setting a fact discovery deadline of December

  5, 2020 and a trial date of September 20, 2021. (D.I. 24) The parties’ Joint Claim Construction




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   SK Innovation Co., Ltd.’s (“SKI”) motion to strike LG Chem’s affirmative defense of unclean
  hands (D.I. 17) and LG Chem’s motion for leave to file a sur-reply (D.I. 68) remain pending and
  will be addressed separately upon resolution of objections, if any, to the instant Memorandum
  Opinion and Order.
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Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 3 of 11 PageID #: 1595




  Chart is due on June 24, 2020, and the Joint Claim Construction Brief is due on September 16,

  2020. (Id. at ¶¶ 15-16) A Markman hearing is scheduled for November 10, 2020. (Id. at ¶ 17)

           On March 31, 2020, Defendants filed a petition for inter partes review (“IPR”)

  challenging the validity of asserted claims 1-3 of the ’398 patent with the U.S. Patent and

  Trademark Office (“USPTO”). (D.I. 57, Ex. 2) The Patent Trial and Appeal Board (“PTAB”) is

  expected to release its institution decision regarding Defendants’ IPR petition in October 2020.

  35 U.S.C. § 314(b). If the PTAB institutes proceedings on Defendants’ petition, a final decision

  on the merits of the petitions is expected by October 2021. 35 U.S.C. §§ 316(a)(11).

      DATE          COURT /        CASE NO.         SUBJECT                       STATUS
      FILED         AGENCY
      4/29/2019     ITC            337-TA-1159      Defendants allege trade       Default judgment
                                                    secret misappropriation       entered vs. SKI on
                                                    by SKI                        March 18, 2020
      9/3/2019      D. Del.        19-1637-         SKI alleges infringement      Ongoing
                                   CFC-SRF          of ’398 patent
      9/3/2019      D. Del.        19-1638-CFC      SKI alleges infringement      Stayed pending
                                                    of ’994 patent                resolution of ITC
                                                                                  action 3
      9/3/2019      ITC            337-TA-1179      SKI alleges infringement      Trial scheduled for
                                                    of ’994 patent                Sept. 2020




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    Related Civil Action Nos. 19-1638-CFC and 19-1805-CFC are stayed due to the mandatory
  stay requirement pursuant to 28 U.S.C. § 1659(a). Section 1659(a) provides that, when a party to
  both a civil action and an action before the ITC requests a stay of the civil action,

           the district court shall stay, until the determination of the Commission becomes
           final, proceedings in the civil action with respect to any claim that involves the
           same issues involved in the proceeding before the Commission, but only if such
           request is made within—
                    (1) 30 days after the party is named as a respondent in the proceeding
                    before the Commission, or
                    (2) 30 days after the district court action is filed,
           whichever is later.

  28 U.S.C. § 1659(a). Consequently, the stay of other matters pending in this district due to
  parallel ITC proceedings has no bearing on the outcome of the instant motion.
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Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 4 of 11 PageID #: 1596




      9/26/2019         D. Del.     19-1805-CFC      SKI alleges infringement       Stayed pending
                                                     of ’517, ’241, ’152, ’877,     resolution of ITC
                                                     and ’626 patents               action 4
      9/26/2019         ITC         337-TA-1181      SKI alleges infringement       Trial scheduled for
                                                     of ’517, ’241, ’152, ’877,     October 2020
                                                     and ’626 patents
      3/31/2020         PTAB        IPR2020-         Defendants allege              Institution decision
                                    00657            invalidity of claims 1-3 of    anticipated in
                                                     ’398 patent                    October 2020


  III.      LEGAL STANDARD

            A court has discretionary authority to grant a motion to stay. 454 Life Scis. Corp. v. Ion

  Torrent Sys., Inc., C.A. No. 15-595-LPS, 2016 WL 6594083, at *2 (D. Del. Nov. 7, 2016) (citing

  Cost Bros., Inc. v. Travelers Indem. Co., 760 F.2d 58, 60 (3d Cir. 1985)). Courts consider three

  factors in deciding how to exercise this discretion: (1) whether a stay will simplify the issues for

  trial; (2) the status of the litigation, particularly whether discovery is complete and a trial date

  has been set; and (3) whether a stay would cause the non-movant to suffer undue prejudice from

  any delay or allow the movant to gain a clear tactical advantage. Id. (citing Advanced

  Microscopy Inc. v. Carl Zeiss Microscopy, LLC, C.A. No. 15-516-LPS-CJB, 2016 WL 558615,

  at *1 (D. Del. Feb. 11, 2016)).

  IV.       DISCUSSION

            A. Simplification of Issues

            In support of the motion to stay, Defendants argue that the IPR proceedings will likely

  simplify the issues for trial because Defendants asserted four independent grounds of invalidity

  on all three asserted claims of the ’398 patent in the IPR petition, raising the likelihood that the

  PTAB will institute IPR proceedings on at least one basis. (D.I. 57 at 8) Because each of the




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      See n.3, supra.
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Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 5 of 11 PageID #: 1597




  asserted claims is at issue in the IPR petition, Defendants contend that a finding of invalidity by

  the PTAB could conclude the litigation. (Id. at 9) Defendants allege that staying the litigation

  would have the added benefit of avoiding the risk of inconsistent results between the PTAB and

  the court. (Id. at 10)

          In response, SKI contends that the likelihood of simplification is speculative prior to a

  decision on institution. (D.I. 65 at 4-5) In the event that the PTAB decides not to institute IPR

  proceedings, SKI argues that a stay would only result in delay, with no collateral simplification

  of the issues. (Id. at 5-6)

          The issue simplification factor weighs against a stay at this time because the PTAB has

  not yet issued a decision on institution. See Advanced Microscopy Inc. v. Carl Zeiss Microscopy,

  LLC, C.A. No. 15-516-LPS-CJB, 2016 WL 558615, at *2 (D. Del. Feb. 11, 2016) (observing

  that, “[i]f no review is instituted, the asserted basis for a stay will fall away.”). “Generally, the

  ‘simplification’ issue does not cut in favor of granting a stay prior to the time the PTAB decides

  whether to grant the petition for inter partes review.” Copy Protection LLC v. Netflix, Inc., C.A.

  No. 14-365-LPS, 2015 WL 3799363, at *1 (D. Del. June 17, 2015); see also HIP, Inc. v. Hormel

  Foods Corp., C.A. No. 18-615-CFC, 2019 WL 7667104, at *1 (D. Del. May 16, 2019). Under

  these circumstances, courts in this district typically permit the movant to renew its motion if and

  when the IPR petition is instituted. Id.; see also KFx Med., LLC v. Stryker Corp., 2019 WL

  2008998, at *2 (S.D. Cal. May 7, 2019) (“[T]he majority of district courts ‘have postponed

  ruling on stay requests or have denied stay requests when the PTAB has not yet acted on the




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Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 6 of 11 PageID #: 1598




  petition for review.’” (quoting Trover Grp., Inc. v. Dedicated Micros USA, 2015 WL 1069179, at

  *5 (E.D. Tex. Mar. 11, 2015)).

         Defendants focus in particular on the timing of the parties’ opening claim construction

  briefs, which overlap with the July 15, 2020 deadline for SKI’s Patent Owner Preliminary

  Response (“POPR”) in the PTAB. (D.I. 70 at 2-3) Defendants argue that, absent a stay, the

  parties may need to revisit the Joint Claim Construction Chart based on statements made in

  SKI’s POPR which may impact the prosecution history for disputed claim terms. (Id.)

  Defendants’ position assumes that SKI will make revelations in pre-institution filings that will

  conflict with or impede the court’s ability to conduct a Markman hearing and construe the

  disputed claim terms. Assuming arguendo that such revelations are made, the District Judge is

  in the best position to consider their effect, if any, on claim construction at the appropriate time.

         Defendants also note that the PTAB’s institution decision may include claim construction

  analysis which would require supplemental briefing prior to the Markman hearing. (D.I. 70 at 3)

  Speculation regarding issues that may or may not be addressed in the PTAB’s institution

  decision is not sufficient to justify a stay. See Invensas Corporation v. Samsung Elecs. Co., Ltd.,

  C.A. No. 17-1363-MN-SRF, 2018 WL 4762957, at *3 (D. Del. Oct. 2, 2018). The PTAB’s

  institution decision is due in mid-October, nearly a month before the Markman hearing on

  November 10, 2020. The record in this case demonstrates that Defendants are familiar with the

  procedures for notifying the court of subsequent authority following the completion of briefing,




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Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 7 of 11 PageID #: 1599




  to the extent that such subsequent authority is relevant to issues pending before the court. (D.I.

  40; D.I. 49)

         B. Stage of Litigation

         Defendants contend that the early stage of the litigation weighs in favor of a stay because

  no depositions have occurred and the claim construction process has not begun. (D.I. 57 at 11-

  12) In response, SKI argues that this factor weighs against a stay because a scheduling order has

  been entered, a trial date has been set, and discovery has begun. (D.I. 65 at 8-9)

         This factor weighs against granting a stay. Although the case has not yet progressed to

  claim construction, the parties have served written discovery requests and have produced

  technical documents, sales data, license agreements, and prior art. (D.I. 21; D.I. 22; D.I. 33; D.I.

  34; D.I. 35; D.I. 44; D.I. 48; D.I. 51; D.I. 53; D.I. 59; D.I. 60) The parties have also exchanged

  infringement and invalidity contentions. (D.I. 39; D.I. 61) The court entered a scheduling order

  setting a trial date for September 20, 2021, about a month before the issuance of a final written

  decision on the IPR petition if the PTAB grants institution. (D.I. 24) If the court were to enter a

  stay at this stage of the proceedings pending the PTAB’s anticipated institution decision in

  October, the trial date would likely be lost even if the PTAB ultimately denies Defendants’ IPR

  petition. Under these circumstances, this factor weighs against a stay. See Copy Protection LLC

  v. Netflix, Inc., C.A. No. 14-365-LPS, 2015 WL 3799363, at *1 (D. Del. June 17, 2015) (finding

  this factor weighed against a stay where a “trial date has been set for . . . around the same time as




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Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 8 of 11 PageID #: 1600




  the IPR petition may be finally decided[ ] and the parties have engaged in a substantial amount

  of discovery and are set to complete claim construction briefing shortly.”).

         C. Prejudice

         The court, in assessing undue prejudice to the non-movant, may consider: (1) the timing

  of the request for review; (2) the timing of the motion to stay; (2) the status of the review

  proceeding; and (3) the relationship of the parties. 454 Life Scis. Corp. v. Ion Torrent Sys., Inc.,

  C.A. No. 15-595-LPS, 2016 WL 6594083, at *4 (D. Del. Nov. 7, 2016) (citing Neste Oil OYJ v.

  Dynamic Fuels, LLC, C.A. No. 12-1744-GMS, 2013 WL 3353984, at *2 (D. Del. July 2, 2013)).

  The court concludes that first and second subfactors do not support a finding that SKI will suffer

  undue prejudice if the case is stayed. Defendants demonstrate that they timely filed the IPR

  petition and the motion to stay (D.I. 57 at 13-14), and SKI does not suggest otherwise, (D.I. 65 at

  10-14). The third subfactor, regarding the status of the IPR proceeding, weighs against the entry

  of a stay when considered in conjunction with the other stay factors discussed at §§ IV.A and B,

  supra. See Princeton Digital Image Corp. v. Konami Digital Entm't Inc., C.A. No. 12-1461-

  LPS-CJB, 2014 WL 3819458, at *5 (D. Del. Jan. 15, 2014) (“[I]n light of the early stage of the

  review proceedings here (with the PTO not yet having determined whether to grant review) the

  length of the expected delay increases the risk of prejudice to Plaintiff.”).

         The fourth subfactor also weighs against the entry of a stay. Defendants allege that the

  competitive relationship between SKI and Defendants favors a stay because the relevant market

  includes several competitors. (D.I. 57 at 15) Defendants also note that SKI previously licensed

  the asserted patent, it does not practice the ’398 patent itself, and it seeks only monetary

  compensation in the litigation. (Id. at 16) In response, SKI contends that the parties are direct

  competitors in the United States electric vehicle battery market. (D.I. 65 at 10-11)



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Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 9 of 11 PageID #: 1601




          The record before the court shows that there is significant potential for prejudice resulting

  from a stay of the litigation due to the small market for electric vehicle batteries and the

  competitive relationship between the parties. Defendants acknowledge that “SKI competes with

  LG Chem and LGE in the electric vehicle battery market.” (D.I. 57 at 15) In proceedings before

  the ITC, SKI represented that “only Panasonic, AESC, and LG Chem offer lithium-ion EV

  battery cells that are produced in the United States, and their production capacity is largely

  committed to Tesla, Nissan, and GM, respectively.” (D.I. 58, Ex. 4 at 3) The likelihood of

  prejudice is greater where, as here, there are only a few market participants. See FMC Corp. v.

  Summit Agro USA, LLC, C.A. No. 14-51-LPS, 2014 WL 3703629, at *6 (D. Del. July 21, 2014)

  (“[E]ven in cases where there were some number of other competitors in the market, so long as

  plaintiff and defendant were joint market participants and engaged in some level of competition,

  our Court has tended to find that some amount of potential prejudice is at play.”).

          SKI would also be at a tactical disadvantage if the court were to stay this litigation

  because a stay would enable Defendants to delay propounding non-infringement contentions.

  (D.I. 65, Ex. 4 at 2) Moreover, Defendants could continue to prosecute their affirmative claims

  against SKI in the ITC proceedings. The fact that Defendants continue to actively pursue relief

  against SKI on multiple fronts bolsters SKI’s position that it would be disadvantaged by a delay

  in its litigation against Defendants. 5




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    Defendants argue that the court should decline to consider the status of any other proceedings
  in connection with the motion to stay. (D.I. 70 at 8) But Defendants cite no authority suggesting
  that the court’s analysis of tactical advantage on a motion to stay cannot account for strategic
  decisions impacting the progress of other proceedings involving the same parties. Defendants’
  suggestion that the court should consider the substantive outcome of litigation in Korea and the
  ITC’s decision awarding default judgment against SKI in a trade secret misappropriation
  investigation is unsupported.
                                                    9
Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 10 of 11 PageID #: 1602




          Defendants also suggest that SKI will not be unduly prejudiced by a stay because money

  damages are an adequate remedy. (D.I. 70 at 8) However, the complaint includes a demand for

  equitable, injunctive relief. (D.I. 1 at 14, 16) Defendants’ argument is not fully supported on

  this factual record.

           On balance, the stay factors weigh against the entry of a stay prior to the PTAB’s

  decision on institution.

  V.      CONCLUSION

          For the foregoing reasons, Defendants’ motion to stay the proceedings is DENIED

  without prejudice to renew following the institution of any IPR proceeding. (D.I. 56) An Order

  consistent with this Memorandum Opinion shall issue.

          Given that the court has relied upon material that technically remains under seal, the

  court is releasing this Memorandum Opinion under seal, pending review by the parties. In the

  unlikely event that the parties believe that certain material in this Memorandum Opinion should

  be redacted, the parties shall jointly submit a proposed redacted version by no later than May 22,

  2020, for review by the court, along with a motion supported by a declaration that includes a

  clear, factually detailed explanation as to why disclosure of any proposed redacted material

  would “work a clearly defined and serious injury to the party seeking closure.” See In re

  Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924 F.3d 662, 672 (3d Cir. 2019) (quoting

  Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (internal quotation marks omitted)). If the

  parties do not file a proposed redacted version and corresponding motion, or if the court

  determines the motion lacks a meritorious basis, the documents will be unsealed within thirty

  (30) days of the date the Memorandum Opinion issued.

          This Memorandum Opinion is filed pursuant to 28 U.S.C. § 636(b)(1)(A), Fed. R. Civ. P.

  72(a), and D. Del. LR 72.1(a)(2). The parties may serve and file specific written objections
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Case 1:19-cv-01637-CFC-SRF Document 84 Filed 05/15/20 Page 11 of 11 PageID #: 1603




  within fourteen (14) days after being served with a copy of this Memorandum Opinion. Fed. R.

  Civ. P. 72(a). The objections and responses to the objections are limited to ten (10) pages each.

  The parties are directed to the court’s Standing Order For Objections Filed Under Fed. R. Civ. P.

  72, dated October 9, 2013, a copy of which is available on the court’s website,

  www.ded.uscourts.gov.


  Dated: May 15, 2020                                         _
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